         Case 2:15-cv-01286-RDP Document 18 Filed 12/28/15 Page 1 of 1                              FILED
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                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA


                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION
DAVID GREENE,                                   }
                                                }
       Plaintiff,                               }
                                                }
v.                                              }   Case No.: 2:15-CV-1286-RDP
                                                }
RESTAURANT EQUIPMENT                            }
MAINTENANCE CORPORATION,                        }
                                                }
       Defendant.                               }


                                  ORDER OF DISMISSAL


       This case is before the court on the parties’ Joint Motion for Approval of Settlement

Agreement and Dismissal of Claims with Prejudice (Doc. # 17), filed December 28, 2015. The

court has a duty to scrutinize the proposed settlement for fairness. Lynn’s Food Stores, Inc. v.

U.S., 679 F.2d 1350, 1353 (11th Cir. 1982). The court finds that the parties have reached an

agreement based on a negotiated, good faith compromise of a bona fide dispute of back wages

under the FLSA. Furthermore, the court finds that the agreement reflects a fair and reasonable

resolution of the dispute between the parties. Therefore, the proposed settlement is hereby

APPROVED. Accordingly, the parties’ Joint Motion for Approval of Settlement Agreement

and Dismissal of Claims with Prejudice (Doc. # 17) is GRANTED. The court hereby ORDERS

that this action shall be, and is, DISMISSED WITH PREJUDICE.

       DONE and ORDERED this December 28, 2015.



                                            _________________________________
                                            R. DAVID PROCTOR
                                            UNITED STATES DISTRICT JUDGE
